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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
CASE NOS fi

JOSE R. MARTINEZ; CHRISTINA
BUCHANAN-MARTINEZ,

COMPLAINT FOR DAMAGES:

Plaintiffs,
Vv.

THE WALT DISNEY COMPANY, a
Delaware corporation, WALT DISNEY
PARKS AND RESORTS, INC., a
Florida corporation, WALT DISNEY
IMAGINEERING RESEARCH &
DEVELOPMENT, INC., a Delaware
corporation; WALT DISNEY WORLD
CO., a Florida corporation; and DOES 1
through 10, inclusive,

Defendants.

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Title III of the Americans with
Disabilities Act (42 U.S.C. §§ 12181 et
seq.);

Unruh Civil Rights Act (California Civil
Code § 51 et seq.);

. California Disabled Persons Act

(California Civil Code § 54 et seq.)
Unfair Business Practices (Business and
Professions Code § 17200 et seq.);
Negligence;

Negligent Infliction of Emotional
Distress;

Strict Liability;

Premises Liability; and

. Declaratory Relief.

DEMAND FOR JURY TRIAL

Cv11-00214 NS

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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JURISDICTION AND VENUE

1. The claims alleged herein arise under the Americans with Disabilities Act (42

USS.C. §§ 12131 et seg.) (“ADA”), among other state claims for relief, such that the
jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343. Through the
same actions and omissions that form the basis of Plaintiffs’ federal claims, Defendants
have also violated Plaintiffs’ rights under state law, over which this Court has supplemental
jurisdiction pursuant to 28 U.S.C. § 1367. This Court has jurisdiction over Plaintiffs’
claims for declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202 and
Rule 65 of the Federal Rules of Civil Procedure.

2. Venue over Plaintiffs’ claims are proper in the Western Division of the
Central District of California because Defendants reside in the Western Division of the
Central District of California within the meaning of 28 U.S.C. § 1391 and because many of
the events, acts, and omissions giving rise to Plaintiffs’ claims occurred in the Western
Division of the Central District of California.

INTRODUCTION

3. Disneyland Amusement Park (“Disneyland”) is consistently ranked the second

busiest amusement park in the world, with approximately 15.9 million people visiting the
Anaheim-based Park in 2009. To the millions of visitors each year, Disneyland touts itself
as the “Happiest Place on Earth.” Resting on eighty-five acres open to the public,
Disneyland has eight themed “lands,” including Main Street USA, Adventureland, New
Orleans Square, Frontierland, Critter Country, Fantasyland, Mickey’s Toontown, and
Tomorrowland, with over fifty rides and attractions.

4, Like other Disneyland visitors, Plaintiff Jose R. Martinez and his wife,
Plaintiff Christina Buchanan-Martinez were thrilled to visit the Park and enjoy its world-
famous attractions and most popular rides.

5. Their earnest enthusiasm, however, quickly gave way to embarrassment,

frustration, and humiliation as they learned from Disneyland employees that the vast

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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majority of rides and attractions were not accessible to Jose R. Martinez. By the end of
their visit, their disappointment had turned into a painful, terrifying, and life-threatening
ordeal.

6. The majority of “accessible rides” at Disneyland require the guest/wheelchair
user to transfer out of his wheelchair to access the ride. Unfortunately, Plaintiff Jose R.
Martinez, who is quadriplegic, does not have the upper body strength to make this transfer.

7. “It?s A Small World” was one of the few rides accessible to Jose R. Martinez.
While attempting to enjoy “It’s a Small World,” the ride malfunctioned because of a
computer glitch. As a result, the ride stopped and could not be started again. As a direct
result of Disneyland’s lack of policies and procedures for emergency evacuation of persons
with mobility disabilities and/or inadequate training of its employees, Plaintiffs Jose R.
Martinez and Christina Buchanan-Martinez were trapped on the ride for over forty
minutes, causing Mr. Martinez to suffer Dysreflexia, a life-threatening medical condition
which can quickly lead to a stroke and/or death if untreated, while the other non-disabled
guests around them were safely evacuated.

8. In addition, as a direct result of Disneyland’s lack of policies and procedures
for persons with mobility disabilities and/or the inaccessibility of its services and programs
due to Disneyland’s failure to remove architectural barriers in existing facilities where such
removal is readily achievable, it was difficult for the Martinezes to locate any family or
unisex restrooms (also known as “companion restrooms”) as required by Mr. Martinez.

9. To the Plaintiffs, instead of the “happiest” place, Disneyland was a place
where they experienced discrimination and an unnecessarily life-threatening situation
based on Disneyland’s practices and procedures (and lack thereof) regarding emergency
procedures for and evacuation of persons with mobility disabilities and the inadequate

training of employees.

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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PARTIES

10. Plaintiff Jose R. Martinez is an individual with a physical disability within the
meaning of all applicable statutes, including the ADA, 42 U.S.C. § 12101 et seq., and
California Civil Code §§ 51 and 54 et seq., and uses a motorized wheelchair for mobility.
Plaintiff Jose R. Martinez is and was at all relevant times herein the husband of Plaintiff
Christina Buchanan-Martinez.

11. Plaintiff Christina Buchanan-Martinez is protected under Title II of the ADA
as “an individual . .. known to have a relationship or association” with a qualified
individual with a disability. 42 U.S.C. § 12182(b)(1)(E). Plaintiff Christina Buchanan-
Martinez is and was at all relevant times herein the wife of Plaintiff Jose R. Martinez.

12. Defendant The Walt Disney Company is and was at all relevant times herein a
Delaware corporation with its principal place of business located in Los Angeles County at
500 South Buena Vista Street, Burbank, CA 91521. Defendant The Walt Disney Company
owns and operates Disneyland located in Anaheim, California.

13. Defendant Walt Disney Parks and Resorts, Inc. is and was at all relevant times
herein a California corporation with its principal place of business located in Los Angeles
County at 500 South Buena Vista Street, Burbank, CA 91521. Defendant Walt Disney
Parks and Resorts, Inc. also owns and operates Disneyland located in Anaheim, California.

14. Defendant Walt Disney Imagineering Research & Development, Inc. is and
was at all relevant times herein a Delaware corporation with its principal place of business
located in Los Angeles County at 500 South Buena Vista Street, Burbank, CA 91521.
Based upon information and belief, Plaintiffs allege that Defendant Walt Disney
Imagineering Research & Development, Inc. designed, manufactured, distributed or
otherwise maintained “It’s A Small World” (“the Subject Ride”) located at Disneyland in
Anaheim, California.

15. Defendant Walt Disney World Co. is and was at all relevant times herein a

Delaware corporation with its principal place of business located in Los Angeles County at

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500 South Buena Vista Street, Burbank, CA 91521. Defendant Walt Disney World Co.
owns and operates Disneyland located in Anaheim, California.

16. Whenever Plaintiff refers to “Defendants,” Plaintiffs are referring to
Defendants The Walt Disney Company, Walt Disney Parks And Resorts, Walt Disney
Imagineering Research & Development, Inc., and Walt Disney World Co.

17. Whenever Plaintiff refers to “Disney Resorts Defendants”, Plaintiffs are
referring to Defendants The Walt Disney Company, Walt Disney Parks And Resorts and
Walt Disney World Co.

18. The true names and capacities of Defendants DOES 1-10 are unknown to
Plaintiffs at this time. Plaintiffs will seek leave of court to amend this Complaint to allege
such names and capacities as soon as they are ascertained. Plaintiffs are informed and
believe, and thereon allege, that each of the Defendants designated as “DOE” are legally
responsible for the events and happenings alleged herein and that Plaintiffs’ damages as
alleged herein were proximately caused by said DOE Defendants.

19. Whenever Plaintiffs refer to any act, deed, or conduct of “Defendants,” said
reference means that Defendants The Walt Disney Company, Walt Disney Parks And
Resorts, Walt Disney Imagineering Research & Development, Inc., Walt Disney World
Co., and DOES 1-5 collectively engaged in the act, deed, or conduct by and through one or
more of its officers, directors, agents, employees or representatives who were actively
engaged in the management, direction, control or transactions of Defendants The Walt
Disney Company, Walt Disney Parks And Resorts, Walt Disney Imagineering Research &
Development, Inc., Walt Disney World Co., and DOES 1-5’s ordinary business affairs.

20. Whenever Plaintiffs refer to any act, deed, or conduct of “Disney Resorts
Defendants,” said reference means that Defendants The Walt Disney Company, Walt
Disney Parks And Resorts, Walt Disney World Co., and DOES 6-10 collectively engaged
in the act, deed, or conduct by and through one or more of its officers, directors, agents,

employees or representatives who were actively engaged in the management, direction,

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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control or transactions of Defendants The Walt Disney Company, Walt Disney Parks And
Resorts, Walt Disney World Co., and DOES 6-10’s ordinary business affairs.

21. Plaintiffs are informed and believe and thereon allege that at all times relevant
hereto each of the Disney Resorts Defendants, including without limitation the DOE
Defendants, was the agent, affiliate, officer, director, manager, principal, alter-ego and/or
employee of the other Defendants and was at all times acting within the scope of such
agency, affiliation, alter-ego relationship and/or employment and actively participated in,
or subsequently ratified and adopted, or both, each and all of the acts or conduct alleged
herein, with full knowledge of all the facts and circumstances, including, but not limited to,
full knowledge of each and all of the violations of Plaintiffs’ rights and the damages to
Plaintiffs proximately caused thereby.

GENERAL ALLEGATIONS
22. Each and every allegation set forth in each and every statement of the

Complaint is hereby incorporated by reference in each and every other averment and
allegation of this Complaint.

23. Plaintiff Jose R. Martinez, who is quadriplegic, uses a motorized wheelchair
for mobility. Mr. Martinez visited Disneyland with his wife on or about November 27,
2009.

24. The couple was excited to visit Disneyland and especially to see the
Disneyland Holiday Parade. Their enthusiasm, however, quickly gave way to
embarrassment, frustration, and humiliation as they learned from Disneyland employees,
only after purchasing their tickets and entering the park, that the vast majority of rides and
attractions were not accessible to Jose R. Martinez.

25. The majority of “accessible rides” at Disneyland require the guest/wheelchair
user to transfer out of his wheelchair to access the ride. Unfortunately, Plaintiff Jose R.
Martinez, who is quadriplegic, does not have the upper body strength to make this transfer.

As a result, the Martinezes were unable to access approximately 75% of the rides and

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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attractions at Disneyland.’

26. In attempting to board “Pirates of the Caribbean” ride, for example, the couple
was informed that Mr. Martinez could not board unless he was able to transfer out of his
wheelchair. They were further informed that this would be the case for most of the other
“accessible” rides at Disneyland. '

27. In addition, the Martinezes were surprised and upset to learn about the lack of
easily identifiable family restrooms at the park, which is important for persons with
mobility disabilities in light of the expectation that Disneyland guests will visit the theme
park all day, endure long waiting periods to ride an attraction, and face additional delays
due to the possibility of a malfunctioned ride.

28. During the Martinezes visit to Disneyland, they experienced extreme
difficulty in locating any family or unisex restrooms as required by Mr. Martinez. Initially,
in an attempt to locate a family restroom, approximately four Disneyland employees were
unable to assist the Martinezes in locating a family restroom. Moreover, there was no
signage indicating the location of any family restrooms. It was not until the Martinezes
requested guidance from a fifth Disneyland employee that they were able to locate a family
restroom.

29. The “It’s a Small World” ride was one of the few rides accessible to Mr.
Martinez. While on this ride, however, it completely malfunctioned, causing the ride to
stop, and both Mr. Martinez and his wife Christina Buchanan-Martinez were stranded just
inside the last tunnel near a set of stairs. After approximately fifteen minutes, the
Martinezes watched as all of the other guests were evacuated. However, there was no
mechanism for Mr. Martinez to evacuate from the boat.

30. The Martinezes were left stranded inside the boat for over forty minutes
without constructive assistance from any emergency or medical professionals, or Disney

employees.

+ This percentage of rides does not include those rides, such as roller coasters, with health restrictions.

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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31. Initially, a female employee approached the Martinezes; however, she was
unable to assist them in exiting the ride. With the ride’s music blaring in the background,
Mr. Martinez felt his blood pressure rising, explained to the female employee that he was
having a panic attack, requested medical attention, and insisted that he needed to exit the
ride immediately. Unsure of what to do, the female employee left.

32. Sometime later, a younger, male employee returned and informed the
Martinezes that the ride would resume in a few minutes. Mr. Martinez informed the male
employee that it was urgent that he exit the ride, that he needed medical attention, and that
he was experiencing Dysreflexia,” an extreme increase in blood pressure, which can lead to
death if not treated. The male employee agreed to inform medical personnel of Mr.
Martinez’s condition.

33. The couple sat for an additional twenty-five to thirty minutes as Mr.
Martinez’s blood pressure dramatically rose, causing extreme pain and pressure in his head
and severe anxiety. This was despite the fact that other non-disabled patrons were able to
exit the ride.

34. Mr. Martinez suffered extreme emotional distress and feared that he was
going to die as he remained trapped on the ride. Mr. Martinez also felt extremely
humiliated and embarrassed at having been singled out by this discriminatory treatment in
Disneyland’s inability to evacuate him from the ride.

35. Mrs. Martinez did her best to keep calm, but felt powerless to do anything. As
Mr. Martinez was strapped inside the boat, he was unable to recline his chair to relieve his
symptoms. Moreover, there was no room for Mrs. Martinez to administer first aid, which
could have relieved his symptoms. As a result, Mrs. Martinez was terrified and suffered
extreme emotional distress knowing all the while that her husband could die. Mrs.

Martinez also felt extremely humiliated and embarrassed at having been singled out by this

? Dysreflexia is commonly experienced by people with spinal cord injuries and can be
triggered by various irritants, most commonly an overfull bladder. Mr. Martinez describes
it as “feeling like your head is going to explode.”

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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discriminatory treatment in Disneyland’s inability to evacuate her husband from the ride.

36. During this time, unbeknownst to the Martinezes, no emergency personnel
were dispatched despite Mr. Martinez’s repeated requests for emergency medical attention
and for his immediate evacuation. Instead, the couple was left trapped in the boat by
Disneyland employees who did not contact the paramedics but, instead, chose to wait until
the ride’s computer system rebooted to allow the Martinezes off the ride.

37. The Martinezes were not offered any alternative route off the ride, nor did
Disney employees appear aware of what they were supposed to do with respect to
emergency situations related to people with disabilities. The Martinezes were presented no
plan for evacuation other than to wait for the ride to start again, and were offered no
alternative to have medical assistance come to them.

38. After about forty minutes of being trapped, the ride restarted and slowly
carried the Martinezes to the exit where a Disneyland nurse was waiting.

39. Upon arrival at the ride’s exit, the Martinezes were further distraught to see
that no paramedics had been dispatched. Instead, they were met by a Disneyland nurse
who told Mr. Martinez to follow her to the first aid office. This required him to travel in
his wheelchair from the “It’s A Small World” ride at the northern most end of Disneyland
to the first aid station on Main Street while weaving through heavy crowds, causing
additional pain and severe emotional distress to both Mr. and Mrs. Martinez.

40. Once they arrived at the first aid station, the nurse checked Mr. Martinez’s
blood pressure and found it dangerously high, which finally caused her to call the
paramedics.

41. Based on this life threatening condition, the paramedics recommended that
Mr. Martinez be taken immediately to the nearest hospital.

42. While in the first aid station, Disneyland employees dressed as the theme park
characters Mickey Mouse and Minnie Mouse came inside to entertain the couple. Mr. and

Mrs. Martinez were distraught and embarrassed by their appearance, realizing that the

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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Disneyland employees were either ignorant of or unconcerned about the gravity of the
situation.

43. Inan effort to appease Mr. and Mrs. Martinez, a Disneyland supervisor
informed them that they would be refunded the cost of their admission tickets.

44. The Martinezes have been deterred from visiting Disneyland because of its
discriminatory and dangerous policies. However, the Martinezes fully intend to visit
Disneyland once they are assured that the amusement park has adequate emergency
evacuation and emergency preparedness policies and procedures for persons with mobility
disabilities.

45. Asaresult of the above, Disney Resorts Defendants have discriminated and
continue to discriminate against the Martinezes by affording the Martinezes on the basis of
Mr. Martinez’s disability the opportunity to participate in or benefit from a good, service,
facility, privilege, advantage, or accommodation unequal to that afforded to other
individuals. Such action is prohibited under Title III of the ADA and California disability
laws to ensure that patrons with mobility disabilities fully and equally enjoy any goods,
services, facilities, privileges, advantages, or accommodations of Disneyland. In addition,
Disney Resorts Defendants have failed to comply with Title III of the ADA in their failure
to make reasonable modifications in their policies, practices, or procedures when such
modifications are necessary to afford the Martinezes the goods, services, facilities,
privileges, or accommodations at Disneyland.

46. Given the length of time of this incident and the number of Disneyland
employees who were involved, it appears that the problem experienced by the Martinezes
is pervasive, that no one involved knew what to do, and that there is no apparent
evacuation protocol for persons with disabilities.

47. Disneyland’s failure to have policies regarding the emergency evacuation of
persons with mobility disabilities is presently endangering the lives of the thousands of

persons with disabilities who visit Disneyland each year. Moreover, the lack of such

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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policies, procedures, and/or adequate employee training deters the Martinezes from visiting
Disneyland, knowing that Mr. Martinez’s life would again be threatened if a ride
malfunctioned, there was a power outage, or there was an earthquake.

48. Accordingly, Plaintiffs bring this action in order to compel Defendants to
comply with their obligations to provide access to its goods and services, and otherwise not
discriminate against people with disabilities. The Plaintiffs also seek damages in addition
to their attorney’s fees and costs.

FIRST CAUSE OF ACTION
TITLE DI OF THE AMERICAN WITH DISABILITIES ACT
42 U.S.C. §§ 12181 et seq.
(By All Plaintiffs Against Disney Resorts Defendants And DOES 1-10)

49. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.

50. Congress enacted the ADA upon finding, among other things, that "society
has tended to isolate and segregate individuals with disabilities" and that such forms for
discrimination continue to be a “serious and pervasive social problem.” 42 U.S.C. §
12101(a)(2).

51. In response to these findings, Congress explicitly stated that the purpose of the
ADA is to provide “a clear and comprehensive national mandate for the elimination of
discrimination against individuals with disabilities” and “clear, strong, consistent,
enforceable standards addressing discrimination against individuals with disabilities.” 42
U.S.C. § 12101(b)(1)-(2).

52. The ADA provides, inter alia, that “[n]o individual shall be discriminated
against on the basis of disability in the full and equal enjoyment of the goods, services,
facilities, privileges, advantages, or accommodations of any place of public
accommodation... .” 42 U.S.C. § 12182(a).

53. Under the ADA, it is discriminatory “to subject an individual or class of

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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individuals on the basis of a disability . . . to a denial of the opportunity of the individual or
class to participate in or benefit from the goods, services, facilities, privileges, advantages,
or accommodations of an entity.” 42 U.S.C. § 12182(b)(1)(A)(i).

54. The ADA further provides that it is discriminatory “to afford an individual or
class of individuals, on the basis of a disability .. . with the opportunity to participate in or
benefit from a good, service, facility, privilege, advantage, or accommodation that is not
equal to that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)@i).

55. The ADA further prohibits “a failure to remove architectural barriers, and
communication barriers that are structural in nature, in existing facilities... where such
removal is readily achievable.” 42 U.S.C. § 12182(b)(2)(A)(iv).

56. The ADA prohibits “a failure to make reasonable modifications in policies,
practices, or procedures, when such modifications are necessary to afford such goods,
services, facilities, privileges, advantages, or accommodations to individuals with
disabilities... .” 42 U.S.C. § 12182(b)(2)(A)(ii).

57. Defendants’ acts and omissions alleged herein are in violation of the ADA, 42
U.S.C. sections 12181 et seg.; and the regulations promulgated thereunder.

58. Defendant The Walt Disney Company owns and operates a place of public
accommodation, Disneyland, which is covered by Title III of the ADA. 42 U.S.C. §
12181(7)(D.

59. Defendant Walt Disney Parks And Resorts, Inc. owns and operates a place of
public accommodation, Disneyland, which is covered by Title III of the ADA. 42 U.S.C. §
12181(7)(D.

60. Defendant Walt Disney World Co. owns and operates a place of public
accommodation, Disneyland, which is covered by Title III of the ADA. 42 U.S.C. §
12181(7)(1).

61. Plaintiff Jose R. Martinez is a person with a mobility disability and, thus, is
specifically protected under the ADA. 42 U.S.C. § 12102(2); and 28 C.F.R. § 36.104.

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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62. Plaintiff Christina Buchanan-Martinez is a person “known to have a
relationship or association” with a qualified individual with a disability and, thus, is
specifically protected under the ADA. 42 U.S.C. § 12182(b)(1)(E).

63. Disney Resorts Defendants’ conduct constitutes multiple ongoing and
continuous violations of the ADA, and unless restrained from doing so, Disney Resorts
Defendants will continue to violate said law. Said conduct, unless enjoined, will continue
to inflict injuries for which Plaintiffs have no adequate remedy at law. Consequently,
Plaintiffs are entitled to injunctive relief. 42 U.S.C. § 12188.

64. Plaintiffs are also entitled to reasonable attorneys’ fees and costs pursuant to
the ADA. 42 U.S.C. § 12205.

SECOND CAUSE OF ACTION
UNRUH CIVIL RIGHTS ACT
California Civil Code §§ 51 et seq.
(By Plaintiff Jose R. Martinez Against Disney Resorts Defendants And DOES 1-10)

65. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.

66. California’s Unruh Civil Rights Act prohibits discrimination against
individuals with disabilities and also prohibits discrimination based on a person’s
disability. Section 51 of the California Civil Code provides, in relevant part:

All persons within the jurisdiction of this state are free and equal,
and no matter what their .. . disability .. . are entitled to the full
and equal accommodations, advantages, facilities, privileges, or
services in all business establishments of every kind whatsoever.
Cal. Civ. Code § 51(b).

67. The Unruh Act provides that “[a] violation of the right of any individual undey
the Americans with Disabilities Act ... shall also constitute a violation of this section.”

Cal. Civ. Code § 51(f).

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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68. As set forth above, Disney Resorts Defendants discriminated against Plaintiff
Jose R. Martinez based on his disability by instituting policies that discriminate against
people with mobility disabilities.

69. Disney Resorts Defendants’ actions constitute a violation of, among other laws,
the Americans with Disabilities Act.

70. Plaintiff Jose R. Martinez’s mobility disability limits a major life activity;
thus, he is protected under the Unruh Civil Rights Act. Cal. Civ. Code § 51(e)(1); Cal.
Gov’t. Code §12926(k).

71. Disneyland is a business establishment regulated by the Unruh Civil Rights
Act. Cal. Civ. Code § 51(b).

72. Asa direct and proximate result of Disney Resorts Defendants’ conduct,
Plaintiff Jose R. Martinez has suffered damages.

73. As such, the named Plaintiff Jose R. Martinez is entitled to general and
special damages and any amount that may be determined by a jury, or a court sitting
without a jury up to a maximum of three times the amount of actual damage but in no case
less than four thousand dollars ($4,000) for each and every offense. Cal. Civ. Code § 52(a),
(e). Plaintiff Jose R. Martinez is also entitled to his attorneys’ fees. Cal. Civ. Code
§ 52(a)(3).

74. Plaintiff Jose R. Martinez is also entitled to declaratory and injunctive relief
and attorneys’ fees. Cal. Civ. Code § 52.1(b).

THIRD CAUSE OF ACTION
Violation of California Civil Code § 54
(By Plaintiff Jose R. Martinez Against Disney Resorts Defendants And DOES 1-10)

75. Jose Martinez incorporates by reference each and every allegation contained

in the foregoing paragraphs.
76. California Civil Code § 54.1(a) provides that “[i]ndividuals with disabilities

shall be entitled to full and equal access, as other as other members of the general public, to

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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accommodations, advantages, facilities, medical facilities, including . . . transportation
(whether private, public, franchised, licensed, contracted, or otherwise provided),
telephone facilities, adoption agencies, private schools, hotels, lodging places, places of
public accommodation, amusement, or resort,”

77. — Plaintiff, Jose R. Martinez is a person with disabilities within the meaning of
California Civil Code § 54(b)(1) and California Government Code § 12926.

78. Defendants provide public services within the meaning of § 54 et seq.

79. By failing to provide reasonable and equal accommodations to Plaintiff in
light of, and based upon, Plaintiff's disabilities, Defendants have deprived Plaintiff of his
right to have full and free use of public services, and therefore violate California Civil
Code § 54.

80. Under California Civil Code § 54(c), a violation of the ADA also constitutes a
violation of California Civil Code § 54 et seq.

81. For all the reasons outlined above, Defendants violated the rights of Plaintiff
under the Americans with Disabilities Act, and therefore violated California Code § 54.

82. Asa direct and proximate result of the aforementioned acts, Plaintiff has
suffered and continues to suffer humiliation, hardship, anxiety and indignity.

83. Under California Civil Code § 54 et. seq., Plaintiff is entitled to injunctive
relief, and attorneys’ fees and costs.

84. Plaintiff also seeks an award of damages. Plaintiffs are entitled to damages,
including, but not limited to, statutory damages in an amount up to a maximum of three
times the amount of her actual damages. Cal. Civ. Code § 54.3.

FOURTH CAUSE OF ACTION
UNFAIR BUSINESS PRACTICE
Business and Professions Code § 17200
(By All Plaintiffs Against Disney Resorts Defendants And DOES 1-10)

85. Plaintiffs incorporate by reference each and every allegation contained in the

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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foregoing paragraphs.

86. Defendants’ conduct, as alleged, is part of a general business practice by
Defendants. Defendants have made a considered decision to promote patronage at the
expense of Defendants’ legal obligations to patrons with mobility disabilities and their
associates.

87. Defendants’ policies and practices constitute an unfair, fraudulent, and
deceitful business practice within the meaning of California Business and Professions Code
sections 17200 et seq., in that, inter alia, Defendants’ appeal to, advertise to, and purport to
serve all people, including persons with mobility disabilities, yet Defendants’ policies are
illegal, discriminatory, and in violation of public policy.

88. Plaintiffs have suffered injury as a result of Defendants’ unfair and illegal
business policy, including, but not limited to, of selling admission tickets to Plaintiff Jose
R. Martinez at the same cost to which other patrons are subject without sufficient notice
that due to his disability and inability to transfer out of his wheelchair, Mr. Martinez would
be denied access to at least 75% of Disneyland’s amusement rides without any health
restrictions.

89. Plaintiffs have suffered injury as a result of Defendants’ unfair and illegal
business policy, including, but not limited to, of unlawfully discriminating against
Plaintiffs by putting them at substantially higher risks as guests at Disneyland because of
Disneyland’s lack of emergency evacuation procedures and/or training of employees for
person with mobility disabilities.

90. Plaintiffs have also suffered injury as a result of Defendants’ unfair and illegal
business policy relating to family restrooms as required by Mr. Martinez. The lack of
easily identifiable family restrooms within Disneyland demonstrates Defendants’ unfair
and illegal business policy in light of the expectation that Disneyland guests are to visit the
theme park all day, endure long waiting periods to ride an attraction, and face additional

delays due to the possibility of a malfunctioned ride.

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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91. Based on the foregoing, Plaintiffs seek injunctive relief to remedy the unfair
business practices described herein.
FIFTH CAUSE OF ACTION
NEGLIGENCE
(By All Plaintiffs Against Defendants And DOES 1-10)

92. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.

93. All Plaintiffs were customers who paid to use Defendants’ premises, facilities,
and transportation. Thus, Defendants owed Plaintiffs a duty of care as an invitee because
Defendants owned, possessed, maintained, operated, supervised, managed, and controlled
Disneyland in such a manner as to cause or permit that area to be in a dangerous, unsafe
and hazardous condition for people with mobility disabilities, thereby causing Plaintiffs
injuries.

94. That at said time and place, Defendants so negligently lacked sufficient and
effective policies and procedures regarding the emergency evacuation of persons with
mobility disabilities and/or adequate employee training.

95. Defendants’ breached their duties of care by at least the following actions,
failures, and omissions:

e Operating and permitting the operation of amusement park attractions,
including but not limited to the “It’s A Small World” ride, even though it
lacked the proper practices and procedures regarding emergency
evacuation of persons with mobility disabilities;

e Failing to adequately train agents of Defendant as to proper emergency
procedures of persons with mobility disabilities in order to ensure swift
and efficient assistance in the event of a catastrophe such as this;

e Operating and permitting the operation of amusement park attractions,

including but not limited to the “It’s A Small World” ride, without

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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adequate warnings or cautions of the potential dangers to persons with
mobility disabilities.

e Failing to implement policies and procedures to allow patrons who may
need assistance in the restroom from a family member of the opposite sex,
to have meaningful access to unisex bathrooms within Disneyland.

96. Asadirect and proximate result of Defendants’ breach of their duties of care,
Plaintiffs sustained severe, permanent and disabling injuries, physical pain, and significant
emotional suffering.

97. That as a proximate result of the negligence of Defendants, Plaintiff Jose R.
Martinez was forced to incur expenses for medical care and treatment for himself. Also,
Plaintiff Jose R. Martinez is informed and believes, and therefore alleges, that he will incur
such further expenses in the future, all to his damage in a sum not at this time ascertained;
and, leave of court will be asked to insert this figure at the time of trial.

SIXTH CAUSE OF ACTION
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
(By All Plaintiffs Against Defendants And DOES 1-10)

98. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.

99. Defendants were negligent as more particularly described hereinabove,
including but not limited to Defendants’ policies, procedures, training of employees and
proper warnings, etc.

100. Defendants’ negligence is exemplified by Plaintiffs’ experience on the “It’s A
Small World” ride at Disneyland, which was a cause of severe injury to Plaintiffs.

101. Plaintiff Christina Buchanan-Martinez is the wife of the victim, Plaintiff Jose
R. Martinez.

102. Plaintiff Christina Buchanan-Martinez was present at the scene of the “It’s A

Small World” ride, on November 27, 2009, at the moment her husband experienced

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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Dysreflexia, triggering an extreme increase in blood pressure, which can lead to death if
not treated.

103. Plaintiff Christina Buchanan-Martinez was terrified, shocked, and troubled as
she was stranded on the “It’s A Small World” ride with her husband for over forty minutes
without the assistance from any emergency or medical professionals. Unable to relieve her
husband’s symptoms, Plaintiff Christina Buchanan-Martinez suffered extreme emotional
distress, knowing that her husband could die.

104. While trapped on the “It’s A Small World” ride, Plaintiff Jose R. Martinez
suffered extreme emotional distress, fearing that he was going to die.

105. Plaintiffs felt humiliated and embarrassed at having been singled out by this
discriminatory treatment in Disneyland’s inability to evacuate Plaintiff Jose R. Martinez
from the ride, as other riders were safely evacuated.

106. Furthermore, upon Plaintiffs’ arrival at the ride’s exit, no paramedics had been
dispatched to assist Plaintiffs. Instead, a Disneyland nurse told Plaintiffs to follow her to
the first aid office, which required Plaintiff Jose R. Martinez to travel in his wheelchair
from the “It’s A Small World” ride at the northern most end of Disneyland to the first aid
station on Main Street. Plaintiff Jose R. Martinez had to weave through heavy crowds,
causing him additional pain and severe emotional distress to both Plaintiffs.

107. Plaintiffs are informed and believe, and based thereon allege, that they
continue to incur various losses and expenses, the exact nature and amount of which
Plaintiffs do not know at this time. Plaintiffs will amend this Complaint to state such
amounts when the same have become known to Plaintiffs or will offer proof thereof at the

time of trial.
SEVENTH CAUSE OF ACTION

STRICT LIABILITY
(By All Plaintiffs Against Defendants And DOES 1-10)

108. Plaintiffs incorporate by reference each and every allegation contained in the

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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foregoing paragraphs.

109. Plaintiffs are informed and believe, and upon that basis allege, that
Defendants at all times herein mentioned were engaged in the business of manufacturing,
designing, owning, and operating amusement park attractions, including but not limited to
the “It’s A Small World” ride, for which visitors of Disneyland with mobility disabilities
could purchase an admission ticket and ride. Further, at the time of manufacturing,
designing, owning, and operating amusement park attractions, including but not limited to
the “It’s A Small World” ride, Defendants knew and absolutely intended that the
attractions accommodating persons with mobility disabilities would be used by Plaintiff in
such a manner that he would be ignorant of the unreasonably dangerous nature of the ride
due to the lack of practices and procedures regarding emergency evacuation of persons
with mobility disabilities, to the inadequate training of employees, and to the
inaccessibility of its services and programs due to Defendants failure to remove
architectural barriers in existing facilities where such removal is readily achievable.

110. Plaintiffs are informed and believe, and upon that basis allege, that the
amusement park attractions, including but not limited to the “It’s A Small World” ride and
its subject components, at the time it was manufactured, designed, owned, and operated by
Defendant was defective, hazardous, and unsafe for the purpose to accommodate persons
with mobility disabilities without serious, immediate, absolute, and cumulative injury.

111. Plaintiffs are informed and believe, and upon that basis allege, that
Defendants knew and intended that the amusement park attractions, including but not
limited to the “It’s A Small World” ride, would be used by Plaintiffs without Plaintiffs
having scrutinized it for effective practices and procedures regarding emergency
evacuation of persons with mobility disabilities, for adequate training of employees, and
for the removal of architectural barriers in existing facilities where such removal is readily
achievable.

112. Plaintiffs are informed and believe, and upon that basis allege, that as a direct

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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and proximate result of Defendants’ ineffective practices and procedures regarding
emergency evacuation of persons with mobility disabilities, of Defendants’ inadequate
training of employees, and of Defendants’ failure to remove architectural barriers in
existing facilities where such removal is readily achievable, Plaintiff Jose R. Martinez was
stranded inside the boat at the “It’s A Small World” ride for over forty minutes without the
assistance from any emergency or medical professionals. In result, Plaintiff Jose R.
Martinez experienced Dysreflexia, triggering an extreme increase in blood pressure, which
can lead to death if not treated.

113. As a proximate result of the hereinabove and hereinafter alleged acts,
omissions, and conduct of Defendants, Plaintiffs have incurred various expenses and
losses, which would not have otherwise been incurred. Plaintiffs are informed and believe,
and based thereon allege, that Plaintiffs will continue to incur various losses and expenses,
the exact nature and amount of which Plaintiffs do not know at this time. Plaintiffs will
amend this Complaint to state such amounts when the same become known to Plaintiffs or
will offer proof at the time of trial.

EIGHTH CAUSE OF ACTION
PREMISES LIABILITY
(By All Plaintiffs Against Defendants And DOES 1-10)

114. Plaintiffs incorporate by reference each and every allegation contained in the

foregoing paragraphs.
115. “THIS PROPERTY” refers to Disneyland where this incident occurred and,
particularly, the “It’s A Small World” ride.

116. At all times herein mentioned, Defendants were the Owners and Operators of

THIS PROPERTY.

117. Atall times herein mentioned, Defendants were the Lessor of THIS

PROPERTY.

118. Atall times herein mentioned, the persons acting as the Managers and

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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Maintainers of THIS PROPERTY were doing so with the knowledge, permission, and
consent of Defendants.

119. At all times herein mentioned, the persons acting as the Managers,
Maintainers, and Lessors of THIS PROPERTY were the agent, servant, and employee of
and acting within the course and scope of said agency and employed by Defendants.

120. At said time and place, Defendants proximately caused damages to said
Plaintiffs by negligently, wantonly, recklessly, tortiously, and unlawfully:

e Entrusting, permitting, managing, maintaining, servicing, repairing,
inspecting, testing, controlling and operating THIS PROPERTY;

e Designing, constructing and owning THIS PROPERTY;

e Instructing others regarding THIS PROPERTY and its use, maintenance,
care and operation;

e Failing to warn, instruct, advice, protect and guard users regarding THIS
PROPERTY; and,

e Conducting themselves with reference to THIS PROPERTY and to
Plaintiffs, so as to cause THIS PROPERTY to be in a dangerous, defective,
hazardous, and unsafe condition and to proximately cause damages to
Plaintiffs while they were riding on the “It’s A Small World” ride.

121. Asa proximate result thereof this Plaintiffs have had and in the future will
have pain, suffering, worry, and anxiety, all to Plaintiffs’ general damages in an amount
according to proof.

NINTH CAUSE OF ACTION
DECLARATORY RELIEF
(By All Plaintiffs Against Disney Resorts Defendants And DOES 1-10)

122. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.

123. Plaintiffs are informed and believe, and therefore contend, that Defendants

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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deny that Defendants failed to comply with applicable law prohibiting discrimination
against persons with mobility disabilities and are in violation of various civil rights statutes
and the California Business and Professions Code.

124. In addition, Plaintiffs are informed and believe, and therefore contend, that
Defendants deny that its practice and policies regarding the accessibility of rides and
attractions and its policies and procedures regarding the emergency evacuation of persons
with disabilities policies, or lack thereof, are in violation of public policy.

125. A judicial declaration is necessary and appropriate at this time in order that
each of the parties may know their respective rights and duties and act accordingly.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for judgment as follows:
1. Declaring that Defendants violated Title III of the ADA and its implementing

regulations, the Unruh Civil Rights Act, and the California Disabled Persons Act by failing
to provide full and equal enjoyment of their goods and services to Plaintiffs;

2. Declaring that Defendants violated Business and Professions Code Section
17200 by engaging in unfair business practices;

3. Granting a permanent injunction directing Defendants to alter their policies,
practices and procedures, including employee training, to ensure that it affords full and
equal enjoyment of its goods and services for people with disabilities, including Plaintiffs,
as required by the ADA, the Unruh Civil Rights Act, and Business and Professions Code
Section 17200, including, but not limited to ensuring appropriate policies and procedures
regarding emergency situations and evacuation for persons with disabilities;

4. Granting a permanent injunction:

e Ordering that Defendants retain a neutral outside expert to review their
emergency plans and develop necessary policies and procedures to ensure that
such emergency plans address the needs of people with mobility disabilities;

e Ordering that Defendants implement policies and procedures to allow patrons

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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who may need assistance in the restroom from a family member of the
opposite sex, to have meaningful access to unisex bathrooms throughout the
Disneyland theme park;

e Ordering that Defendants, with the assistance of a neutral outside expert,
implement a certification process to properly train Disneyland personnel, with
regards to the emergency evacuation of individuals with mobility disabilities
as to any and all areas within the Disneyland theme park;

e Ordering that Defendants, with the assistance of a neutral outside expert,
implement a disability sensitivity training program for all Disneyland officers
and staff, including but not limited to Defendants’ general claims personnel
and disability claims personnel, Defendants’ medical response team,
Defendants’ Disney character employees, and Defendants’ ride/attraction
operators and employees;

5. Awarding Plaintiffs compensatory damages in an amount according to proof;

6. Awarding Plaintiff Jose R. Martinez such additional amounts as may be
determined at trial, up to a maximum of three times the amount of actual damages, but in
no case less than four thousand dollars ($4,000) for each violation of California Civil Code
section 51, as provided by California Civil Code section 52;

7. Awarding Plaintiff Jose R. Martinez such additional amounts as may be
determined at trial, up to a maximum of three times the amount of actual damages, but in
no case less than one thousand dollars ($1,000) for each violation of California Civil Code
section 54, as provided by California Civil Code section 54.3(a);

8. Awarding Plaintiffs exemplary and punitive damages in an amount sufficient
to punish and set an example;

9. Awarding Plaintiffs’ attorneys’ fees and all costs incurred by bringing this

action under all applicable laws; and

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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1 10, Granting such other relief as the Court deems just and fair.
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3)| DATED: February 7, 2011 Respectfully Submitted,
4
5 GIRARDI | KEESE
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By
8 THOMAS V.GIRARDI |
9 STEPHEN G. LARSON
Attorney for PLAINTIFFS
1] DISABILITY RIGHTS LEGAL CENTER
12
° Ck
By Cc
14 SURISA E. RIVERS
15 SHAWNA L. PARKS
PAULA D. PEARLMAN
16 Attorney for PLAINTIFFS
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‘COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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1 DEMAND FOR JURY TRIAL
2
3 Plaintiffs hereby demand a jury trial.
4
5|| Dated: February 7, 2011 GIRARDI | KEESE
6]} g t
7) _ By
3 THOMAS V. GIRARDI
STEPHEN G. LARSON
9}| . Attorney for PLAINTIFFS
10 ' |
il DISABILITY RIGHTS LEGAL CENTER —
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13
14 _ SURISA E. RIVERS “
SHAWNA L. PARKS”
15 PAULA D. PEARLMAN
16 Attorney for PLAINTIFFS
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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

I (a) PLAINTIFFS (Check box if you are representing yourself 1)
MARTINEZ, JOSE R., BUCHANAN-MARTINEZ, CHRISTINA

DEFENDANTS
THE WALT DISNEY COMPANY, a Delaware corporation; WALT DISNEY

PARKS AND RESORTS, INC., a Florida corporation;

(see attachment)

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

Thomas V. Girardi

GIRARDI| KEESE, 1126 Wilshire Blvd., Los Angeles, CA 90017
213-977-0211

(see attached for additional attorney information)

Attorneys (If Known)

II. BASIS OF JURISDICTION (Place an X in one box only.)

43 Federal Question (U.S.
Government Not a Party)

01 U.S. Government Plaintiff

(92U.S. Government Defendant 04 Diversity (Indicate Citizenship

of Parties in Item 11)

III, CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

Citizen of This State

Citizen of Another State

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Citizen or Subject of a Foreign Country 03

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Incorporated or Principal Place

of Business in this State

Incorporated and Principal Place 015

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IV. ORIGIN (Place an X in one box only.)

we 1 Original

Proceeding State Court Appellate Court

2 Removed from 013 Remanded from (4 Reinstated or 5 Transferred from another district (specify): 6 Multi-
Reopened

District
Litigation

O17 Appeal to District

Judge from
Magistrate Judge

Y. REQUESTED IN COMPLAINT: JURY DEMAND: © Yes © No (Check ‘Yes’ only if demanded in complaint.)
& MONEY DEMANDED IN COMPLAINT: $_Per Proof

CLASS ACTION under F.R.C.P. 23: 0 Yes wu No

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

Title III of the Americans with Disabilities Act (42 U.S.C. §§ 12181

et seq.)

(see attached for additional information)

VIL. NATURE OF SUIT (Place an X in one box only.)

State Reapportionment Insurance ‘PERSONAL INJURY: we ON,
Antitrust 01120 Marine 0310 Airplane s Y Motions to Act
Banks and Banking 01130 Miller Act 19315 Airplane Product [1370 Other Fraud Vacate Sentence {1720 Labor/Memt.
Commerce/ICC 1140 Negotiable Instrument Liability — 0371 Truth in Lending Habeas Corpus Relations
Rates/etc. (1150 Recovery of (4320 Assault, Libel& | 380 Other Personal {01530 General 0730 Labor/Megmt.
Deportation Overpayment & Slander ; Property Damage [0 535 Death Penalty Reporting &
Racketeer Influenced Enforcement of 330 Fed. Employers’ [7 35 property Damage J] 540 Mandamus/ Disclosure Act
and Corrupt Judgment 10340 xetliy | Product Liability Other (9740 Railway Labor Act
Organizations 01151 Medicare Act 0345 Marine Product KRU 0550 Civil Rights (3790 Other Labor
0480 Consumer Credit 1152 Recovery of Defaulted Liability 0422 Appeal 28 USC |01555_Prison Condition Litigation
0490 Cable/Sat TV Student Loan (Excl. 1350 Motor Vehicle 158 0791 Empl. Ret. Inc.
DB 810 Selective Service Veterans) (1355 Motor Vehicle 0423 Withdrawal 28 a e a
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Act (196 Franchise : Asbestos Personal |[1 445 American with 01630 Liquor Laws 863 DIWC/DIWW
(1 893 Environmental Matters i322 RO er Disabilities - 0640 RR. & Truck (405(g))
0 894 Energy Allocation Act [7210 Land Condemnation Employment 650 Airline Regs 0 864 SSID Title XVI
(1 895 Freedom of Info. Act | 220 Foreclosure : MIGRAI American with {11 660 Occupational meee
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nation Under Equal (240 Torts to Land Application Other (1690 Other (870 Taxes (U.S. Plaintiff
Access to Justice 1245 Tort Product Liability |1463 Habeas Corpus- — {r) 440 Other Civil or Defendant)
(950 Constitutionality of (290 All Other Real Property Alien Detainee Rights 1 871 IRS-Third Party 26
State Statutes 0465 Other Immigration USC 7609
Actions
SREVI1-00214
FOR OFFICE USE ONLY: — Case Number: t . :
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.
CV-71 (05/08) CIVIL COVER SHEET Page 1 of 2
Case 8:11-cv-00214-JVS-RNB Document1 Filed 02/07/11 Page 28 of 32 Page ID-#:31

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo O Yes
If yes, list case number(s):

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No O Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) A. Arise from the same or closely related transactions, happenings, or events, or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges, or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
0 ___Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country

Los Angeles

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
O _ Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

County in this District: * California County outside of this District; State, if other than Califomia; or Foreign Country

Los Angeles

(c) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

Orange

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved

X. SIGNATURE OF ATTORNEY (OR PRO PER): GS ex Date February 7, 2011

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C, 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
US.C. (g))

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
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ATTACHMENT TO CIVIL COVER SHEET

ADDITIONAL DEFENDANTS

WALT DISNEY IMAGINEERING RESEARCH & DEVELOPMENT, INC. a
Delaware corporation; WALT DISNEY WORLD CO., a Florida corporation; and
DOES 1 through 10, inclusive,

ADDITIONAL ATTORNEY INFORMATION:

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slarson@girardikeese.com

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1126 Wilshire Boulevard

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Surisa E. Rivers, SBN 250868
surisa.rivers@lls.edu
DISABILITY RIGHTS LEGAL CENTER
919 Albany Street
Los Angeles, California 90015
Tel: (2 2 736-1031
Fax: (213) 736-1428

ADDITIONAL CAUSES OF ACTION

Unruh Civil Rights Act (Cal. Civil Code §5 let seq.); California Disabled Persons
Act (Cal. Civil Code §54 et seq.); Unfair Business Practices (Business and
Professions Code § 17200 et seq.); Negligence; Negligent Infliction of Emotional
Distress; Strict Liability; Premises Liability; and Declaratory Relief

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge James V. Selna and the assigned
discovery Magistrate Judge is Robert N. Block.

The case number on all documents filed with the Court should read as follows:

SACV11- 214 JVS (RNBx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [X] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 8:11-cv-00214-JVS-RNB Document 1 Filed 02/07/11 Page 31 of 32 Page ID #:34

Thomas V. Girardi, SBN 36603
tgirardi@girardikeese.com

GIRARDI | KEESE

1126 Wilshire Boulevard

Los Angeles, California 90017 ae c
Tel: 213-977-0211 (see attached for add'l atty.infSr¥ 3 ia

se iss Ah Sa
1D STATES DISTRICT COURT

CE NI

CE DISTRICT OF CALIFORNIA
JOSE R. MARTINEZ; CHRISTINA CASE NUMBER
BUCHANAN-MARTINEZ, .

fe (Jip
PLAINTIFFS) | § A Vi 1- 00 Co 1 4 Wo (Dy
Vv. : -
THE WALT DISNEY COMPANY, a Delaware
corporation;
(see attached for additional defendants) SUMMONS
DEFENDANT(S).

TO: DEFENDANT(S): The Walt Disney Company, a Delaware corporation;
(see attached for additional defendants)

A lawsuit has been filed against you.

Within__21 _ days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached uw complaint 0 amended complaint

Q counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, _ Surisa E. Rivers , whose address is
Disability Rights Legal Center, 919 Albany Street, Los Angeles, CA 90015 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

Dated: By:

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[Use 60 days if the defendant is the United States,o,
60 days by Rule 12(a)(3)). Cu

CV-OIA (12/07) SUMMONS
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(Case 8:11-cv-00214-JVS-RNB Document 1 Filed 02/07/11 Page 32 0f 32 Page ID #:35

ATTACHMENT TO SUMMONS

ADDITIONAL ATTORNEY INFORMATION:

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